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BEFokE THE ALASKA BAR AssocIATION

Pursuant to the Rules of
Dlscipllna n%'\ ent

Respondent.
Received By .

DISCIPLINARY BOARD

In the Disciplinary Matter )

. ALASKA BAR ASSOC|ATION
Involvlng g Filad and Entered on

PHILLIP P. wEIDNER, ) SEP 08 2017

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ABA Member No. 7305032
ABA File No. 2011D039
Supreme Court No. S-15038

DISCIPLINARY BOARD IMPOSITION QE
PUBLIC REPRIMAND

On September 7 , 2017, the Board of Governors voted 6-3 to accept
the recommendation of Special Bar Counsel to issue a public reprimand
to Phillip Weidner pursuant to Bar Rule 16(a)(5). The Board voted to
impose a $2,500 fee to cover the costs of discipline.

DATED this §§ day of September, 2017 at Anchorage, Alaska.

 

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Da§rel J. § dner
President, Disciplina.ry Board

 

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BEFORE THE ALASKA BAR ASSOCIATION

DISCIPLINARY BOARD

In the Disciplinary Matter ) ‘LASKA BAR ASSOCFATION
Involving ) cited and Entered on

) JAN 27 2017

PHILLIP P. WEIDNER, ) ,
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ABA Member No. 7305032
ABA File No. 2011D039
Supreme Court No. S-15038
FINILNGS. CONCLUSIONS AND
M(MMEN__LJI_\J`_!Q_E
OF DISCIPLINARY BOARD

This disciplinary matter came before the Disciplinary Board of the
Alaska Bar Association on Janua_ry 27, 2017. The Board, having
considered the area hearing committee Recommendation on Remand and
Dissent to Area Hea.ring Committee Recommendation on Rernand, filed
October 3, 2016, hereby

Adopts the legal findings of fact of the Recommendation, and
adopts the conclusions of law up through paragraph 12. However, the
majority of the Board comes to a different conclusion. The Board finds
Mr. Weidner violated Rule 3.3. While the board believes Mr. Weidner

made efforts to speak with his clients after viewing the video, the

Findings, Conclusions & Recornmendation of Disciplinary Board
In. the Disciplinary Matter Inuolving Phillip Paul Weidner, Page 1 of 2
ABA File No. 2011D039

Case 3:18-mc-OOOOl-T|\/|B Document 1 Filed 01/02/18 Page 2 of 3

 

 

majority of the Board has determined his actions after that were not
timely or reasonable measures to remedy the false information to the

court. The Board will set a sanctions hearing for the September Board

meeting.

DATED this Qi/'F day of January, 2017 at Anchorage, Alaska.

susAWcox
President Disciplinary Board

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Findings, Conclusions & Recommendation of Disciplinary Board

In the Disciplinary Matter Involving Phillip Paul Weidner, Page 2 of 2
ALASKA BAR ABA File No. 201 1D039
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